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) U.S. DISTRICT COURT

 

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Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page5of14 PagelD 54
Supreme Court of the United States

Office of the Clerk
Washington, DC 20543-0001

|
Scott S. Harris |
Clerk of the Court

December 19, 2018 (202) 479-3011

Mr. Ruben Hernandez
Prisoner ID 2065208
3899 State Hwy 98
New Boston, TX 75570

Re: Ruben Geovanni Hernandez
v. Texas
No. 18-7124

Dear Mr. Hernandez:

The petition for a writ of certiorari in the above entitled case was filed on
December 11, 2017 and placed on the docket December 19, 2018 as No. 18-7124.

A form is enclosed for notifying opposing counsel that the case was docketed.

Sincerely,

Scott S. Harris, Clerk

Jacob A. Levitan
Case Analyst

Enclosures

Exhibit (A)
Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page6of14 PagelD 55

THE STATE OF TEXAS §

SS: AFFIDAVIT OF DENNIS KELLY
COUNTY OF HARRIS — §

Before me, the undersigned authority, personally appeared Dennis Kelly, known to me, who states on
his oath as follows: “My name is Dennis Kelly. I am over the age of 21, I have personal knowledge of the
facts related herein and I am competent to testify to these facts. I am making this affidavit for the benefit
of Ruben Geovanni Hernandez, prison number 2065208, who is imprisoned in the Texas prison system. I
am a paralegal who does legal research, and support services for attorneys. This affidavit concerns a
petition for writ of certiorari that Ruben Geovanni Hernandez (“Ruben”) is filing with the Clerk of the
Supreme Court of the United States.

  
 
  
   
  
  
   
  
  
  
   
  
   
  
 
  
  
  
  
   
  
   
 
  
  
  
   

Ruben contacted me during the first part of February, 2018, and informed me that he had delivered his
pro se petition for writ of certiorari and accompanying documents to prison mailroom officials at the Telford
Unit, TDCJ-CID, on December 12, 2017, and had not heard anything in response from the Clerk of the
Supreme Court, no acknowledgement from the Clerk that his certiorari petition had been filed with the
Clerk. Ruben requested me to inquire of the Clerk’s Office regarding his certiorari petition. During about
the middle of February, 2017 I called the Clerk’s Office of the Supreme Court and spoke with a Mr. Higgins.
He informed me that there was no record. | subsequently contacted an assistant TDCJ-CID mailroom
supervisor at the Telford Unit, at 903-628-3171. I was informed by the assistant mailroom supervisor that
a legal mail ‘log’, which records incoming and outgoing mail of inmates, reflected that legal mail addressed
to the Supreme Court of the United States was received from Ruben Geovanni Hernandez on January 12,
2017, and was delivered to U. S. Postal Authorities for transmitting the legal mailer to the Clerk of the
Supreme Court. During March, 2018 I again called the Clerk’s office of the Supreme Court. Mr. Higgins
was not in, but I spoke to another assistant clerk, who informed me that if an inmate delivers legal mail to
prison authorities within applicable time limitations, and the legal mail never reaches the clerk’s office, the
inmate may submit a showing that he did properly deliver his legal mail to prison mail authorities within

the time permitted by court rule; and the prisoner’s certiorari writ filing may be backdated when received
by the Clerk of the Supreme Court.

I then called TDCJ-CID central mail authorities in Huntsville, Texas. I was informed that a copy
of the inmate mail log for December 12, 2017 for the Telford Unit would need to be obtained, and
I could request a copy of it. I made a request under the Texas Open Records Act in order to obtain
the Telford Unit mail log for December 12, 2017. Ruben Hernandez was in the process of getting
his certiorari petition ready to be re-submitted during the latter part of March, 2018, he informed
me. During the last week in March, 2018 an attorney from General Counsel’s Office for TDCJ
called me and informed me that legal mail logs were ordinarily not produced in response to
requests under the Texas Open Records Act, and declined to produce a copy of the legal mail log
for December 12, 2018 to me, showing that legal mail addressed to the clerk of the Supreme Court,
from Ruben Geovanni Hernandez, had been logged as received and going out.

Since I have been unsuccessful in obtaining a copy of the institutional mail log, I am making this
affidavit for Ruben Hernandez in order to demonstrate efforts | made, which determined that Ruben’s legal
mail to the Supreme Court was received and logged by TDCJ mailroom personal at the Telford Unit on
December 12, 2018. It is plain to me that, through no fault of Ruben’s, his originally mailed certiorari
petition never reached the Clerk’s Office of the Supreme Court of the United States.

Exhibrr (B) PietdZ

 
Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page 7of14 PagelD 56

AFFIDAVIT OF DENIS KELLY, PAGE 2 OF 2 /, ;

      

A, Affiant”

2513-A Reid Street
Houston, Texas 77026

Subscribed and sworn to before me, the undersigned authority, on April , 2018.

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NOTARY PUBLIC IN AND FOR THE
STATE OF TEXAS

My Commission Expires:

 
   

   
  

*, Rossiland Harris
By My Commission Expires

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Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page8of14 PagelD 57

SUPREME COURT OF THE UNITED STATES
OFFICE OF THE CLERK
WASHINGTON, DC 20543-0001

June 1, 2018

Ruben Geovanni Hernandez
#2065208

3899 State Hwy 98

Telford Unit

New Boston, TX 75570

RE: Hernandez v. Texas
TXCRA No. PD-0425-17

Dear Mr. Hernandez:

The above-entitled petition for writ of certiorari was originally postmarked December
11, 2017 and received again on April 13, 2018. The papers are returned for the
following reason(s):

The notarized affidavit or declaration of indigency does not comply with Rule
39. You may use the enclosed form.

Please correct and resubmit as soon as possible. Unless the petition is submitted to
this Office in corrected form within 60 days of the date of this letter, the petition will
not be filed. Rule 14.5.

A copy of the corrected petition must be served on opposing counsel.

When making the required corrections to a petition, no change to the substance of the
petition may be made.

Sincerely,
Scott S. Harris, Cler

“ CA. /

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Clayton R. Higgins} Jr.
(202) 479-3019

 
 

Enclosures

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Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page9of14 PagelD 58
+T. J. SOLOMON LAW GROUP, PLLC

Principal Office: Mailing Address:

2120 Welch Street
Houston, Texas 77019

P.O. Box 14593
Houston, TX 77221

 

Phone: 713-640-5956
Facsimile: 713-640-5944
attorney@tjsololaw.com

www.tjsololaw.com

June 19, 2018

Ruben Hernandez, #2065280
Telford Unit

3899 State Hwy. 98

New Boston, Texas 75570

Dear Ruben:

We received from you the letter you received from the Clerk of the Supreme Court, the In Forma
Pauperis form, and you Certiorari writ materials. It was good that the Clerk’s office was able to
locate the certiorari writ application you sent to the Court some time ago. A member of my staff
had called the Clerk’s Office, on several occasions, and finally, your writ application was located.

I wanted to let you know that we sent off your Certiorari writ materials for you to the Supreme
Court this day. The Clerk’s office should be receiving you Certiorari writ application by the end
of this week. You should be receiving notice from the Clerk’s office that your writ has been
filed, in a couple of weeks, and the Clerk will be sending you a form to notify the District
Attorney’s Office in Hunt County, Texas that your Certiorari writ has been filed.

Sincerely yours,

Tanika J. Solomon
Ce:

Exhibit (D)

 
Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page10o0f14 PagelD 59
Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

February 19, 2019 (202) 479-3011

Mr. Ruben Hernandez
Prisoner ID 2065208
3899 State Hwy 98
New Boston, TX 75570

Re: Ruben Geovanni Hernandez
v. Texas
No. 18-7124

Dear Mr. Hernandez:
The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

SU &. Dew

Scott S. Harris, Clerk

Echiber (E)
Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page11of14 PagelD 60

December /]_. 2017

Scott S. Harris, Clerk
Supreme Court of the
United States

1 First Street, N.E.
Washington, D.C. 20543

Dear Mr. Harris:

I am enclosing my pro se motion and application for leave to proceed In Forma Pauperis, and
Petition For Writ of Certioran.

I am including a ‘proof of filing’ to indicate the date on which I delivered my certiorari
documents to prison mail officials for mailing to your office.

Very truly yours,

TDCJ-CID #2065208
Telford Unit

3899 F.M. 98

New Boston, Texas 75570
Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page12of14 PagelD 61

December 18, 2018

Ruben Geovanni Hernandez, #2065208
Telford Unit

3899 F.M. 98

New Boston, Texas 75570

Dear Ruben:

Enclosed are two copies of your corrected In Forma Pauperis declaration, and petition for writ of
certiorari. The document that is marked ‘copy’ is to be send by you to Mr. Noble D. Walker,
District Attorney for Hunt County, Texas, 2507 Lee Street, 4"" Floor, Greenville, Texas 75401.
He must be served with a copy. You need not send Mr. Walker a copy of you cover letter going
to the Supreme Court Clerk.

You must sign and date at all places indicated. I did not know if you were going to send your
petition before the end of this year, December, so I left a line for you to print in the date at a
couple of places. Sign and date your cover letter to the Clerk of the Supreme Court. Attached to
your cover letter is a copy of the letter you received from Mr. Higgins. Send a copy of that letter
back to the Supreme Court to remind the clerk’s office of the letter Mr. Higgins wrote to you.

Sign and date the Affidavit or declaration in support of motion for leave to proceed in forma
pauperis, on the last page of that declaration, at the bottom. Be sure to print in the date and sign
it. Look over the indigency declaration and make any changes that might be necessary, as to
amount of money or receive, for example. Sign and date the proof of delivery and the proof of
service, which are the last two pages. You had already signed at a couple of places, so you don’t
need to sign at those places again.

Send your petition to the Supreme Court clerk as soon as you can. You have a few days, but get
it sent as soon as practicable. Be sure to send the copy to Mr. Nobles.

Hope you have a positive Christmas and New Years’.
Sincerely,

Dennis Kelly,
Paralegal for Attorney
Tanika Solomon

2120 Welch Street
Houston, Texas 77019

Cc
Enclosures
 

 

Case 3:20-cv-01270-G-BN Document9 Filed 07/22/20 Page13o0f14 PagelD 62

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